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                                   STATEMENT OF FACTS

       Your affiant, Paul J. West, is a Special Agent with the Federal Bureau of Investigation. As
a Special Agent, I am authorized by law or by a Government agency to engage in or supervise the
prevention, detention, investigation, or prosecution of violations of federal criminal laws.

       The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, DC. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, shortly
after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.



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        Following the events of January 6, 2021, your affiant reviewed a copy of surveillance video
footage obtained from an internal security camera covering a hallway in the U.S. Capitol Senate
Gallery with a date and time stamp reading Wednesday, January 06, 2021, at 2:41:28 PM. This
camera provides a view of a hallway and several sets of doors to rooms or areas out of the view of
the camera. The beginning of the video clip showed several unidentified subjects in the hallway.
A U.S. Capitol Police (USCP) officer (hereinafter referred to as “USCP1”) is seen entering one of
these sets of doors and is shortly joined by two other USCP officers (“USCP2” and “USCP3”).
As part of their official duties, USCP1, USCP2, and USCP3 were clearing individuals out of rooms
and securing the doors.

        Approximately 27 seconds into the video clip, an individual who was later identified as
RONALD SANDLIN 1 entered the view of the security camera wearing a bright orange sweatshirt,
baseball cap, backpack, a second smaller bag over his shoulder, and what appeared to be camera
equipment, including a camera and a small tripod. Shortly thereafter, USCP2 and USCP3 moved
toward the second set of doors to start to usher people out, while USCP1 finished locking the first
set of doors. SANDLIN is seen walking next to USCP1 as he approached the second set of doors,
and while USCP2 is attempting to close the second set of doors. SANDLIN is observed cutting in
front of USCP1 and attempting to wrestle the door away from USCP2. This wrestling to keep the
door open causes PERSON 1, SANDLIN, and several other unidentified subjects to become
engaged in a shoving match with the USCP officers. While this shoving match transpires, the
three USCPs are without backup in a hallway surrounded by what appeared to be at least 20
individuals. PERSON 1 is observed wearing black tactical gear, including what appears to be
body armor, a helmet, and a mask/face shield.

         As the three USCPs make their way away from the crowd down the hallway and out of
view of the security camera, PERSON 1, SANDLIN, and several others are observed on the video
footage acting in an aggressive manner towards the USCPs. PERSON 1 can be seen putting up
his fists as if to begin boxing one of retreating USCP officers (see Figure 1). As the USCP officer
steps away, PERSON 1 is observed banging his chest. PERSON 1 then removes his mask/face
shield (see Figure 2), revealing an individual wearing a red-white-and-blue neck bandanna who
resembles NATHAN DEGRAVE, as seen on his driver’s license photograph.




1
 On January 20, 2021, SANDLIN was charged with two counts of obstructing law enforcement engaged in official
duties incident to civil disorder and one count each of unlawful entry on restricted grounds and violent entry and
disorderly conduct on Capitol grounds.

                                                         2
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                                             Figure 1




                                             Figure 2

      Your affiant has reviewed the publicly-available content for the “Ronnie.Sandlin”
Facebook account (“Facebook account”), including photos and videos posted by the user as well
as comments to posts on the Facebook account. Below are screen captures from the Facebook


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account taken by your affiant. The first screen capture is of a post from December 23, 2020 (Figure
3), in which SANDLIN posted:

                 Who is going to Washington D.C. on the 6th of January? I’m going
                 to be there to show support for our president and to do my part to
                 stop the steal and stand behind Trump when he decides to cross the
                 rubicon. If you are a patriot I believe it’s your duty to be there. I
                 see it as my civic responsibility. If you’re going comment below or
                 PM me so we can meet up.

SANDLIN also posted: “cool man I’m driving from Memphis if you want to join. Probably
gonna rent a car and drive there. Assume flights into and surrounding DC will be shutdown
because they don’t want people to come and they will blame in on Covid.” The second screen
capture is of a post made on December 31, 2020 (Figure 4), where SANDLIN posted:

                 Dear Patriots, I’m organizing a caravan of patriots who are going
                 to Washington D.C. to stand behind our president Donald J.
                 Trump. I posted about this last week and a got almost a dozen
                 messages from people asking how they can help or expressing their
                 wish to participate somehow. Josiah Colt, Nate DeGrave, and
                 myself have already booked and paid for our trip to Washington
                 D.C. but we could use your help and support! Every dollar you
                 contribute to us is a smack in the face to Antifa. Every penny is a
                 boot in the ass against tyranny. Every Buffalo nickel is a body
                 slam against China. If you can’t be there in person this is the next
                 best thing. We will be documenting our journey and every
                 contributer will get a personal thank you video shot on location in
                 Washington D.C. and will be featured as a contributor on the video
                 mini documentary. Share, comment, like, and hate on us in the
                 comments.”

In this post, SANDLIN referred to two other individuals who have also booked their trips:
“Josiah Colt” 2 and “Nate DeGrave.” The post also contains a link to a GoFundMe webpage 3
appearing to depict SANDLIN in a car holding what appears to be a semi-automatic rifle and the
caption “Patriots Defending Our Country On Jan. 6th, organized by Ronnie Sandlin.”




2
  An individual named JOSIAH COLT has since been charged in the District Court for the District of Columbia with
multiple offenses in connection with the Capitol riot.
3
  GoFundMe is a social fundraising online platform allowing individuals to raise money for a particular cause or
reason.

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               Figure 3                                     Figure 4

        Your affiant also noted that a Facebook account bearing the username
“Nate DeGrave” posted a comment to the post seen in Figure 4, as well as several others on
SANDLIN’s Facebook account, as seen in Figure 5 below. In the comment, the “Nate Degrave”
Facebook user states “It’s time the American people rise and stand up for this country. We’re tired
of the corruption.” When your affiant clicks on the account for “Nate DeGrave,” it is linked to the
following Facebook account “vegasrave” with the name of “Nate DeGrave” (see Figure 6).




                                                Figure 5

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                                                 Figure 6

        Your affiant reviewed another video received as an anonymous online tip. The video is
another “selfie”-style video from inside a restaurant that is approximately ten and a half minutes
in length, without any visible indication of the date or time it was recorded. The majority of the
video appears to depict SANDLIN wearing the same bright orange sweatshirt and black rimmed
glasses as the individual seen in Figures 1 through 5 above as well as COLT and an individual
wearing a red-white-and-blue bandanna tied around his neck resembling both PERSON 1 and
NATHAN DEGRAVE.

       Based on some of SANDLIN’s statements in the video, your affiant believes this video was
recorded prior to the Capitol riot. In the video, SANDLIN is heard saying:

               Alright so we have been at the protests…we were there pretty early,
               scoped it out…there were some scrimmages, I will upload the video
               later…I think a precursor of what is going to [happen] in a few
               hours. People are really mad…it is just a precursor to what’s going
               to happen…Either way there is going to be violence.

A little later in the video, SANDLIN states:

               What is happening to this country is absolutely horrific, absolutely
               horrific…we are ready to occupy the state capitol if needed to…I
               urge other patriots watching this too, to be willing to take the
               capitol…if you are watching this and you are a patriot and are here,
               I think it is time to take the capitol and I don’t say that lightly…. I
               am willing to do it, I willing to go and fight for this country. Even
               if that means I have to sacrifice in some capacity. It is not what I
               want to do…


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        In the video, SANDLIN appears to hand the device used to record the video to two other
individuals who, based on your affiant’s involvement in the Capitol riot investigation, your affiant
recognizes as JOSIAH COLT and the individual resembling NATHAN DEGRAVE. 4 SANDLIN
refers to the individual recognized as COLT in the video as “JOSIAH” before handing the phone
over to COLT. In the video, COLT states that “they are leaving bricks everywhere. There are
piles of bricks. It seems like they are encouraging people to riot, because they are leaving stacks
of bricks around the city.” SANDLIN interrupts COLT, stating “allegedly.” COLT replies: “No,
there are pictures, dude…Nate, show him.”

        The individual resembling DEGRAVE then shows a picture on his phone of what appeared
to be a stack of bricks (see Figures 7 and 8 below).




                          Figure 7                                     Figure 8

SANDLIN proceeds to ask “Nate” if he wants “to say something,” at which point the third
individual believed to DEGRAVE responds (a still shot of this moment can be seen in Figure 9
below):

                 “We are out here protecting the country, if shit goes down, if Pence
                 does what we think he is going to do. Then we are here to defend


4
 COLT was charged with various offenses in the District Court for the District of Columbia on January 9, 2021.
DEGRAVE has not yet been charged in relation to the Capitol riot.

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               this city, defend any city in this country. Let Antifa try us, we are
               here, we are ready. I say bring it. We are not silent anymore.




                                             Figure 9

COLT then says: “The whole thing is a scam, dude. The whole election, they can’t just steal an
election. Like they are trying to do in Georgia last night. It is a lie.” The individual resembling
DEGRAVE responds: “We are sick and tired of the fucking lies. It is time to put an end to this
once and for all.”

SANDLIN replies: “You either have conviction and you stand up for what you believe in or you
sit down and shut the fuck up…” Towards the end of the video, SANDLIN stated:

               If we need to occupy the capitol, we will occupy the capitol. You
               guys are driving all the way to DC and you are missing the rally.
               We have been at the rally, we went last night, we have been at the
               rally since six in the morning. We needed to grab a bite to eat, and
               like decompress because we went through a few intense moments
               and also regroup and plan for the next….one o’clock is when it is all
               going to go down. So we are going to be there back by one o’clock
               when it is action time it is game time.

Your affiant believes these statements refer to the joint session of Congress at the U.S. Capitol
building that began at approximately 1:00 p.m. Eastern Standard Time (EST).

        Further investigation revealed a video posted to Youtube titled “Josiah Colt Says Violence
at the Capital Might be Necessary.” In the video, individuals your affiant recognizes as SANDLIN
and COLT are observed being interviewed alongside an individual resembling PERSON 1, with
the same black body armor, helmet, and gas mask/face shield, and red-white-and-blue bandanna
around his neck (see Figure 10 below). In the video, COLT says “[i]f violence happens, it


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happens” and “we’re just hear to defend ourselves,” “at which point PERSON 1 can be seen
nodding, as if in approval. SANDLIN then interjects, stating that he supports Trump and that
“freedom is paid for with blood.”




                                             Figure 10

       Research in government databases revealed that NATHAN DEGRAVE resides in an
apartment in Las Vegas, NV. On January 28, 2021, surveillance was conducted in Las Vegas, NV,
which led to the identification of a truck registered to SANDLIN parked outside the apartment
complex where DEGRAVE resides. SANDLIN was later observed walking towards the truck
from a pathway in the apartment complex and was arrested by the FBI.

       Based on the posts and information described above and a comparison of the images of
PERSON 1 inside the Capitol with the photograph in government records NATHAN DEGRAVE,
your affiant reasonably believes that the individual seen in the Capitol building in the videos and
Facebook photos is NATHAN DEGRAVE.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
NATHAN DEGRAVE violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; (4) knowingly engages
in any act of physical violence against any person or property in any restricted building or grounds;
or attempts or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building”
includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the
President or other person protected by the Secret Service, including the Vice President, is or will


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be temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that NATHAN DEGRAVE
violated 40 U.S.C. § 5104(e)(2), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; (E) obstruct, or impede passage through or within, the Grounds or any of the Capitol
Buildings; (F) engage in an act of physical violence in the Grounds or any of the Capitol Buildings;
and (G) parade, demonstrate, or picket in any of the Capitol Buildings.

        Finally, your affiant submits there is probable cause to believe that NATHAN DEGRAVE
violated 18 U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit any act to
obstruct, impede, or interfere with any fireman or law enforcement officer lawfully engaged in the
lawful performance of his official duties incident to and during the commission of a civil disorder
which in any way or degree obstructs, delays, or adversely affects commerce or the movement of
any article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.



                                              _________________________________
                                              PAUL J. WEST, SPECIAL AGENT
                                              FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 28th day of January 2021.
                                                                         2021.01.28
                                                                         17:41:32 -05'00'
                                              ___________________________________
                                                    ZIA M. FARUQUI
                                                    U.S. MAGISTRATE JUDGE




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